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UN|TED STATES D|STR|CT COURT
MlDDLE D|STR|CT OF FLOR|DA
ORLANDO DlVlSlON

PROXlCOl\/l WlRELESS i:>|aintiff($)1

_v_ ease NO, 6;18-cv-oooe4-RBo-GJK

MACY'S PNC. ETAL. Defendant(s)

MED|AT|ON REPORT

ln accordance with the Court’s mediation order(s), a mediation conference was held on

lVlARCH 13 1 9
. 20

(a) The following individuals, parties, corporate representatives and/or claims

professionals attended and participated in the mediation conference, and each

possessed the requisite authority:

, and the results of that conference are indicated below:

[:l All individual parties and their respective trial counsel.
Designated corporate representatives
\:I Required claims professionals.

(b) The following individuals, parties, corporate representatives, and/or claims
professionals failed to appear and/or participate as ordered:

 

 

 

 

 

 

 

 

 

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(Attachment to Mediation Order)(Rev. 7/04)

 

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(c) The outcome of the mediation conference was:

\___l The case has been completely settled. ln accordance with Local
Rule 9.06(b), lead counsel will promptly notify the Court of settlement
in accordance with Local Rule 3.08 by the iiling of a settlement
agreement signed by the parties and the mediator within ten (‘lO)
days of the mediation conference

\:| The case has been paLallv resolved and lead counsel has been
instructed to file ajoint stipulation regarding those claims which have
been resolved within ten (10) days. The following issues remain for
this Court to resolve:

 

 

 

 

 

The conference was continued with the consent of all parties and
counsel. The mediation conference will be held on a date certain not
later than ten (10) days prior to the scheduled trial date. Any
continuance beyond that time must be approved by the presiding
Judge. Nlediation Reports will be filed after additional conferences
are complete

 

|:\ The parties have reached an impasse

Done this 18TH day of APR|L .20 19 .in
LAKE COUNTY 1 F\Orida_

sigyéture of Mediator
RlCHARD F¢HCE, ESQ.
Name of lVlediatuV

26336 STATE ROAD 19
Mailing Address

 

 

 

 

 

 

 

HOWEY lN THE H|Ll FL
City State
34737 407 _ 697 _ 6156
Zip Te|ephone Number
MEDIATlON REPORT Page 2

(Attachment to Mediation Order)(Rev. 7/04)

 

